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 1                                                               The Honorable Thomas S. Zilly
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 8                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 9                                      AT SEATTLE
10

11   STRIKE 3 HOLDINGS, LLC, a Delaware             Case No. 2:17-cv-01731-TSZ
     corporation,
12                                                  JOINT STIPULATED PROTECTIVE
                 Plaintiff,                         ORDER REGARDING SOURCE CODE
13
          v.                                        NOTE ON MOTION CALENDAR:
14
                                                    July 3, 2019
15   JOHN DOE, subscriber assigned IP address
     73.225.38.130,
16
                 Defendant.
17

18   JOHN DOE, subscriber assigned IP address
     73.225.38.130,
19
                 Counterclaimant,
20
          v.
21

22   STRIKE 3 HOLDINGS, LLC, a Delaware
     corporation,
23
                 Counterdefendant.
24

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28
     JOINT STIPULATED PROTECTIVE ORDER                               2101 Fourth Avenue, Suite 1500
     REGARDING SOURCE CODE — 1                  Newman Du Wors LLP     Seattle, Washington 98121
     [Case No.: 2:17-cv-01731-TSZ]                                           (206) 274-2800
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 1          Plaintiff, Strike 3 Holdings, LLC, Defendant John Doe, a subscriber assigned IP address

 2   73.225.38.130, and Third Party GuardaLey, LTD, a German company, and the exclusive owner

 3   of certain computer source code, the production of which is sought by Defendant in this case,1

 4   by and through their undersigned counsel, hereby stipulate and agree to the entry of the

 5   following Stipulated Protective Order Regarding Source Code.

 6                STIPULATED PROTECTIVE ORDER REGARDING SOURCE CODE

 7          1.     All Litigation Material designated or reflecting CONFIDENTIAL SOURCE CODE

 8   — ATTORNEYS’ EYES ONLY INFORMATION, as defined below, shall be used solely for

 9   the purposes of preparation, trial and appeal of this “Action” as identified in the above caption

10   and for no other purpose, absent further order of the Court. While nothing herein shall prevent or

11   in any way limit disclosure, use, or dissemination of any document, thing, or information that is

12   in and obtained from the public domain sources, no line or lines of Source Code disclosed in

13   connection with this Protective Order may be publicly disclosed nor may any party receiving any

14   CONFIDENTIAL SOURCE CODE — ATTORNEYS’ EYES ONLY INFORMATION under

15   this Protective Order (“Receiving Party”) take any action before any tribunal to designate any

16   portion of any such Source Code received under this Protective Order as public domain whether

17   the Receiving Party or its Qualified Consultant or Qualified Expert believe any such portion or

18   line of Source Code is derived from or is in fact a part of the public domain.

19          2.     “Source Code” shall mean source code and object code. For avoidance of doubt, this

20   includes source files, header files, resource files, library files, module definition files, map files,

21   object files, linker files, browse info files, and debug files. Source Code does not include

22   documents that describe source code or object code, such as hardware reference specifications,

23   software reference specifications, application programming interface (“API”) specifications,

24   technical specifications, and other presentations about how source code or object code is built,

25

26
     1
       Defendant served a subpoena on Third Party, IPP International UG (“IPP”) for the computer source code at issue
27   in this case (the “Source Code”); however, IPP is merely a licensee of the subject Source Code from GuardaLey,
     LTD, (“GuardaLey”), and does not have the legal right to produce it. GuardeLey is the exclusive owner of all rights
28   to the Source Code and has not been subpoenaed in this case to produce the Source Code. Nevertheless, GuardeLey
     has offered to produce the Source Code under the terms of this Stipulated Protective Order Regarding Source Code.
     JOINT STIPULATED PROTECTIVE ORDER                                                   2101 Fourth Avenue, Suite 1500
     REGARDING SOURCE CODE — 2                            Newman Du Wors LLP                Seattle, Washington 98121
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 1   organized, engineered, designed or developed, except to the extent that any such document

 2   incorporates source code and/or object code, in which case that portion of such document

 3   qualifies as Source Code.

 4         3.     “CONFIDENTIAL SOURCE CODE — ATTORNEYS’ EYES ONLY

 5   INFORMATION” hereinafter shall mean material that constitutes or contains Source Code.

 6         4.     All CONFIDENTIAL SOURCE CODE — ATTORNEYS’ EYES ONLY

 7   INFORMATION shall be carefully and securely maintained by the Receiving Party and access

 8   to such shall be permitted only to persons having access thereto under the terms of this Protective

 9   Order. CONFIDENTIAL SOURCE CODE — ATTORNEYS’ EYES ONLY INFORMATION

10   shall be stored at the offices or facilities of the Receiving Party only consistent with the terms of

11   this Protective Order. In the event that any SOURCE CODE QUALIFIED PERSON ceases to be

12   engaged in the litigation of this Action, access by such person to CONFIDENTIAL SOURCE

13   CODE — ATTORNEYS’ EYES ONLY INFORMATION shall be terminated. The provisions of

14   this Protective Order, however, shall otherwise remain in full force and effect as to such

15   SOURCE CODE QUALIFIED PERSON. If any provision of this protective order is violated by

16   the SOURCE CODE QUALIFIED PERSON, DEFENDANT or its agents, the source code

17   review shall be immediately canceled.

18         5.     SOURCE CODE QUALIFIED PERSONS as used herein shall include any

19   SOURCE CODE QUALIFIED CONSULTANT AND EXPERT. The designated SOURCE

20   CODE QUALIFIED CONSULTANT AND EXPERT shall be DR. KAL TOTH and J. CURTIS

21   EDMONSON, counsel for the Receiving Party.

22         6.     A proposed SOURCE CODE QUALIFIED CONSULTANT AND EXPERT may

23   only receive CONFIDENTIAL SOURCE CODE — ATTORNEYS’ EYES ONLY

24   INFORMATION after being expressly identified to the Producing Party by the service of a

25   completed Exhibit A as seeking access to CONFIDENTIAL SOURCE CODE —

26   ATTORNEYS’ EYES ONLY INFORMATION. A Producing Party shall have fourteen (14)

27   calendar days from the date of facsimile or electronic mail service of the materials and

28   information served, plus three (3) additional calendar days if service is made by U.S. mail or
     JOINT STIPULATED PROTECTIVE ORDER                                        2101 Fourth Avenue, Suite 1500
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 1   overnight delivery (such as Federal Express), to object to a proposed Qualified Consultant or

 2   Qualified Expert other that the person designated in Section 5 herein. Such objection must be for

 3   good cause, stating with particularity the reasons for the objection, and must be in writing served

 4   on all Parties. Failure to object within the period referenced in this Paragraph shall constitute

 5   approval but shall not preclude the non-objecting Party from later objecting to continued access

 6   upon becoming aware of information of which the Producing Party was previously unaware

 7   supporting a basis for objection. If a written notice of objection is served, no disclosure or no

 8   further disclosure shall be made to the proposed Qualified Consultant or Qualified Expert until

 9   the objection is resolved by agreement or by an order of the Court.

10         7.     The Producing Party objecting to the disclosure bears the burden of seeking an order

11   of the Court and must demonstrate under applicable law why the proposed Qualified Consultant,

12   or Qualified Expert should not be permitted to receive CONFIDENTIAL SOURCE CODE —

13   ATTORNEYS’ EYES ONLY INFORMATION. The objecting Producing Party must seek an

14   order of the Court within fourteen (14) calendar days of serving its objection. Failure to seek an

15   order of the Court shall constitute approval but shall not preclude the non-objecting Party from

16   later objecting to upon becoming aware of information of which the Producing Party was

17   previously unaware supporting a basis for objection.

18         8.     The failure of a Producing Party to object to the receipt of its CONFIDENTIAL

19   SOURCE CODE — ATTORNEYS’ EYES ONLY INFORMATION by a person designated by

20   a Receiving Party shall in no way prejudice the Producing Party’s right to later move to exclude

21   such person’s testimony or written report on grounds other than the propriety of such person’s

22   access to the Producing Party’s CONFIDENTIAL SOURCE CODE — ATTORNEYS’ EYES

23   ONLY INFORMATION.

24         9.     CONFIDENTIAL SOURCE CODE — ATTORNEY’S EYES ONLY

25   INFORMATION shall be subject to the additional protections of this Paragraph.

26                a.   Nothing in this Protective Order shall obligate the Parties to produce any

27                     Source Code, nor act as an admission that any particular Source Code is

28                     discoverable.
     JOINT STIPULATED PROTECTIVE ORDER                                        2101 Fourth Avenue, Suite 1500
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 1             b.   Access to Source Code will be given only to SOURCE CODE QUALIFIED

 2                  PERSONS.

 3             c.   Access to Source Code shall be provided on one “stand-alone” computer (that

 4                  is, the computer may not be linked to any network, including a local area

 5                  network (“LAN”), an intranet, or the Internet and may not be connected to any

 6                  printer or storage device other than the internal hard disk drive of the

 7                  computer) (such configured computer is hereinafter referred to as the “Secure

 8                  Computer”). The Secure Computer shall be kept in a secure location at the

 9                  offices of the Producing Party’s Local Legal Counsel’s office or at such other

10                  location as the Producing and Receiving Parties mutually agree (the

11                  “Inspection Room”). The Party’s agree that a suitable “Inspection Room” is

12                  the Law Offices of J. Curtis Edmondson, located at 3699 NE John Olsen Ave.

13                  The Secure Computer may be password protected and shall have the Source

14                  Code stored on a hard drive contained inside the Secure Computer. The

15                  Producing Party shall produce Source Code in computer searchable format on

16                  the Secure Computer or shall deliver the same electronically or on portable

17                  media for exclusive loading onto the Secure Computer. The Secure Computer

18                  shall, at the Receiving Party’s request, include reasonable analysis tools

19                  appropriate for the type of Source Code. The Receiving Party shall be

20                  responsible for providing the tools or licenses to the tools that it wishes to use

21                  to the Producing Party so that the Producing Party may install such tools on the

22                  Secure Computer. The Secure Computer shall include a printer of

23                  commercially reasonable speeds which may be provided by the Receiving

24                  Party. The Receiving Party may make hard copy print outs from the printer

25                  connected to the Secure Computer at the time of review. Absent written

26                  agreement of the Producing Party, or Court order, no more than fifty (50) total

27                  pages of the Source Code shall be printed or requested by the Receiving Party

28                  (font size 12, font Times New Roman). At end of each day, Producing Party
     JOINT STIPULATED PROTECTIVE ORDER                                    2101 Fourth Avenue, Suite 1500
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 1                  shall collect the printouts made by the Receiving Party and shall Bates label

 2                  and produce copies of the printouts to Receiving Party within a reasonable

 3                  time. Notwithstanding the foregoing, the Parties herein agree the Receiving

 4                  Party may print more than 50 pages; provided, however, (i) that access to the

 5                  printed pages will be limited to only the SOURCE CODE QUALIFIED

 6                  PERSONS, (ii) access will be limited to only the location of the Secure

 7                  Computer, and (iii) the SOURCE CODE QUALIFIED PERSONS must either

 8                  deliver all printed pages to counsel for the Producing Party or certify that all

 9                  printed pages have been destroyed when the case is ends.

10             d.   The Receiving Party shall make reasonable efforts to restrict its requests for

11                  access to the Secure Computer to normal business hours, which for purposes of

12                  this Paragraph shall be 9:00 a.m. through 5:00 p.m. Upon reasonable notice

13                  from the Receiving Party, which shall not be less than three (3) business days

14                  in advance, the Producing Party shall make reasonable efforts to accommodate

15                  the Receiving Party’s request for access to the Secure Computer outside of

16                  normal business hours. The parties reserve their rights to request access to the

17                  Source Code at the site of any deposition, hearing or trial.

18             e.   All SOURCE CODE QUALIFIED PERSONS who will review Source Code

19                  on behalf of a Receiving Party shall be identified in writing to the Producing

20                  Party at least seven (7) business days in advance of the first time that such

21                  person reviews such Source Code. At the request of the Receiving Party, the

22                  Producing Party shall provide these individuals with information explaining

23                  how to start, log on to, and operate the Secure Computer in order to access the

24                  produced Source Code on the Secure Computers.

25             f.   No person other than the Producing Party may alter, dismantle, disassemble or

26                  modify any Secure Computer in any way, or attempt to circumvent any

27                  security feature of any Secure Computer.

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     JOINT STIPULATED PROTECTIVE ORDER                                    2101 Fourth Avenue, Suite 1500
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 1             g.   SOURCE CODE QUALIFIED PERSONS may not use cellular telephones,

 2                  tablets, cameras, laptop computers and/or similar devices, USB Sticks and

 3                  other Storage devices in the Inspection Room. The Producing Party shall make

 4                  reasonable efforts to provide a separate room where SOURCE CODE

 5                  QUALIFIED PERSONS may use these devices during their inspection of the

 6                  Source Code.

 7             h.   Hard copy printouts of Source Code shall be maintained by the Receiving

 8                  Party’s Local Counsel or by SOURCE CODE QUALIFIED PERSONS in a

 9                  secured locked area. The Receiving Party may also temporarily keep the print

10                  outs at: (i) the Court for any proceedings(s) relating to the Source Code, for the

11                  dates associated with the proceeding(s); (ii) the sites where any deposition(s)

12                  relating to the Source Code are taken, for the dates associated with the

13                  deposition(s); and (iii) any intermediate location reasonably necessary to

14                  transport the print outs (e.g., a hotel prior to a Court proceeding or deposition).

15                  No further hard copies of such Source Code shall be made and the Source

16                  Code shall not be transferred into any electronic format or onto any electronic

17                  media except that: 1. The Receiving Party is permitted to make the number of

18                  copies required for use in connection with a Court filing, hearing, or trial —

19                  taking into account the Court’s procedural requirements and the needs of the

20                  Court, counsel, and any applicable witness to see the exhibits — and of only

21                  the specific pages deemed in good faith to be reasonably necessary for

22                  deciding the issue for which the portions of the Source Code are being filed or

23                  offered. To the extent portions of Source Code are quoted in a Court filing,

24                  either (1) the entire document will be stamped and treated as CONFIDENTIAL

25                  SOURCE CODE — ATTORNEY’S EYES ONLY INFORMATION; or (2)

26                  those pages containing quoted Source Code will be separately stamped and

27                  treated as CONFIDENTIAL SOURCE CODE — ATTORNEY’S EYES

28                  ONLY INFORMATION; 2. Electronic copies of Source Code printouts may
     JOINT STIPULATED PROTECTIVE ORDER                                    2101 Fourth Avenue, Suite 1500
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 1                     be made only as necessary to create documents which, pursuant to the Court’s

 2                     rules, procedures and order, must be filed or served electronically.

 3               i.    Nothing in this Protective Order shall be construed to limit how a Producing

 4                     Party may maintain material designated as CONFIDENTIAL SOURCE CODE

 5                     — ATTORNEY’S EYES ONLY INFORMATION.

 6               j.    Counsel for the Receiving Party with custody of CONFIDENTIAL SOURCE

 7                     CODE — ATTORNEY’S EYES ONLY INFORMATION shall maintain a

 8                     source code log containing the following information: (1) the date and time

 9                     access CONFIDENTIAL SOURCE CODE — ATTORNEY’S EYES ONLY

10                     INFORMATION began and ended; (2) the identity of the person or people

11                     accessing the source code; and (3) the location the CONFIDENTIAL

12                     SOURCE CODE — ATTORNEY’S EYES ONLY INFORMATION was

13                     accessed from. Counsel for the Receiving Party will produce, upon request,

14                     each such source code log to the Producing Party within sixty (60) days of the

15                     final determination of this Action.

16         10.   Any person who obtains, receives, has access to, or otherwise learns, in whole or in

17   part, CONFIDENTIAL SOURCE CODE — ATTORNEY’S EYES ONLY INFORMATION

18   herein shall not prepare, prosecute, supervise, or assist in the preparation or prosecution of any

19   patent application, reexamination procedures, or reissue procedures, or write code, source code,

20   develop or design software and computer programs relating to the CONFIDENTIAL SOURCE

21   CODE — ATTORNEY’S EYES ONLY INFORMATION.

22

23   SO STIPULATED

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     JOINT STIPULATED PROTECTIVE ORDER                                       2101 Fourth Avenue, Suite 1500
     REGARDING SOURCE CODE — 8                     Newman Du Wors LLP          Seattle, Washington 98121
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 1   Respectfully submitted July 3, 2019.

 2   NEWMAN DU WORS LLP                                EDMONDOSN IP LAW

 3
     s/ Derek A. Newman
 4
     s/ Rachel Horvitz                                 s/ J. Curtis Edmondson
 5
     Derek A. Newman, WSBA No. 26967                   J. Curtis Edmondson, WSBA No. 43795
 6   dn@newmanlaw.com                                  jcedmondson@edmolaw.com
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 7   rachel@newmanlaw.com                              Hillsboro, Oregon 97124
     2101 Fourth Ave., Ste. 1500                       (503) 336-3749
 8   Seattle, WA 98121
 9   (206) 274-2800                                    Counsel for Defendant John Doe

10   WEIDE & MILLER, LTD.                              ARETE LAW GROUP PLLC

11

12   s/ Franklin Christopher Austin

13   s/ Allen Gregory Gibbs                            s/ Jeremy E. Roller
     Franklin Christopher Austin                       Jeremy E. Roller, WSBA No. 32021
14   Admitted Pro Hac Vice                             jroller@aretelaw.cm
     Allen Gregory Gibbs                               1218 Third Ave., Suite 2100
15
     Admitted Pro Hac Vice                             Seattle, WA 98101
16   10655 Park Run Drive                              (206) 428-3250
     Las Vegas, NV 89144
17   (702) 382-4804                                    Counsel for Plaintiff/Counterclaim Defendant
                                                       Strike 3 Holdings, LLC
18   Counsel for Third-Parties, IPP International
19   UG, and GuardaLey LTD

20

21                                          IT IS SO ORDERED
22

23   Dated this _____________ day of ____________________, 2019
24

25
                                                        Honorable Thomas S. Zilly
26                                                      United States District Court Judge
27

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     JOINT STIPULATED PROTECTIVE ORDER                                     2101 Fourth Avenue, Suite 1500
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 1                                               EXHIBIT A

 2                     QUALIFIED CONSULTANT OR QUALIFIED EXPERT

 3         I, __________________________________________________________, declare under

 4   penalty of perjury that:

 5

 6         My address is:

 7         _______________________

 8         _______________________

 9         _______________________

10

11         My present employer is _______________________________________, and the address

12   of my present employment is:

13         ______________________________

14         ______________________________

15         ______________________________

16

17         My present occupation or job description is

18   __________________________________________________________________

19   __________________________________________________________________

20   __________________________________________________________________.

21

22         I have attached hereto my current curriculum vitae and, to the best of my knowledge, a

23   complete list of any present or former relationships or engagements between myself and any

24   Party to the above-captioned action (the "Action") or any known competitor thereof.

25         I hereby acknowledge that I have read the “Protective Order Regarding Source Code”

26   (“PROTECTIVE ORDER”) in this Action, that I am familiar with the terms thereof, and that I

27   agree to be bound by the terms thereof.

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 1         I hereby acknowledge that, pursuant to the PROTECTIVE ORDER, I may receive

 2   information designated as CONFIDENTIAL SOURCE CODE — ATTORNEY’S EYES ONLY

 3   INFORMATION (collectively, “DESIGNATED INFORMATION”) in this Action, and certify

 4   my understanding that such information is provided to me pursuant to the terms and restrictions

 5   of the PROTECTIVE ORDER. I agree not to reveal any DESIGNATED INFORMATION or

 6   any notes containing DESIGNATED INFORMATION to anyone not authorized to receive such

 7   information pursuant to the terms of the PROTECTIVE ORDER, and I agree not to use, directly

 8   or indirectly, or allow the use of any DESIGNATED INFORMATION for any purpose other

 9   than directly associated with my duties in this litigation.

10         I understand that I am to retain all copies of the materials that I receive which have been

11   designated as containing or reflecting DESIGNATED INFORMATION in a container, cabinet,

12   drawer, room or other safe place in a manner consistent with the PROTECTIVE ORDER. I

13   understand that all copies of any such materials are to remain in my custody until the Conclusion

14   of this Action or the completion of my assigned duties, whereupon the copies are to be destroyed

15   or returned to the Producing Party. Such return or destruction shall not relieve me from the

16   obligations imposed upon me by the PROTECTIVE ORDER. I also agree to notify any support

17   personnel (such as paralegals, administrative assistants, secretaries, clerical and administrative

18   staff) that they may not access CONFIDENTIAL SOURCE CODE — ATTORNEY’S EYES

19   ONLY INFORMATION pursuant to the terms of the PROTECTIVE ORDER.

20         I understand that I shall be subject to the jurisdiction of the U.S. District Court for the

21   District of Nevada in any proceeding relating to my performance under, compliance with, or

22   violation of the PROTECTIVE ORDER.

23

24         Signature: ________________________________

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     JOINT STIPULATED PROTECTIVE ORDER                                        2101 Fourth Avenue, Suite 1500
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